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                 EXHIBIT C




                                 Exhibit C - 2
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 Honorable Manuel L. Real
 United States District Court
 for the Central District of California

 United States v. Theresa Tetley
 CR 17-738-R

 Dear Judge Real,

 My name is Regina Vaccaro, and I am Theresa Tetley's aunt. She was born when I was 12 years
 old. Theresa was the first baby I ever held. I was fortunate to grow up with my niece in my life,
 as her family (my sister, brother-in-law, and their children) lived nearby, and we spent a lot of
 time together. Theresa holds a very special place in my heart.

 Your Honor, I know that your time is valuable. I will share just a few vignettes that I hope will
 demonstrate Theresa's character and responsible nature.

 Theresa has "been there" for me throughout my life. For example, when my 17 year old
 daughter was going through a crisis, Theresa was a source of strength to me. She listened with
 compassion and understanding about what my daughter was experiencing. She sent my daughter
 a book to use as a helpful tool for healing from her broken heart.

 Theresa has consistently taken responsibility for herself and her siblings. Following the death of
 her mother, she organized the final arrangements, and has since been the overseer of the affairs
 of her sister who is mentally impaired.

 Theresa has demonstrated an admirable work ethic throughout her life. Educated at the College
 of William and Mary in Virginia, and Juilliard in New York, she has faced challenges and has
 risen to them. She has held a wide array of jobs in order to support herself.

 During my most recent conversation with Theresa, I was made aware of the sedous crimes to
 which she has pled guilty. Taking responsibility for her actions in this case is consistent with
 Theresa's nature. She will not try to assign blame elsewhere.

 I love my niece, and I will continue to love her despite her wrongdoings. It is with the utmost
 respect that I ask you to impose the lowest appropriate sentence.

 Sincerely,



 Regina Vaccaro




                                            Exhibit C - 3
